          Case
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION


BRADLEY A. CHICOINE, D.C., DR.                        Civil Action No. 4:17-cv-00210
BRADLEY A. CHICOINE, D.C., P.C.,
MARK A. NILES, D.C., NILES
CHIROPRACTIC, INC., ROD R.
REBARCAK, D.C., and BEN
WINECOFF, D.C., on behalf of
themselves and those like situated,

       Plaintiffs,

and

STEVEN A. MUELLER, D.C.,                                 DEFENDANT WELLMARK’S
BRADLEY J. BROWN, D.C., BROWN                              MOTION TO STAY ALL
CHIROPRACTIC, P.C., MARK A.                               PROCEEDINGS PENDING
KRUSE, D.C., DR. MARK A. KRUSE,                         TRANSFER BY THE JUDICIAL
D.C., P.C., KEVIN D. MILLER, D.C.,                       PANEL ON MULTIDISTRICT
and LARRY E. PHIPPS, D.C., on behalf                           LITIGATION1
of themselves and those like situated,

       Plaintiffs,

v.

WELLMARK INC. d/b/a WELLMARK
BLUE CROSS AND BLUE SHIELD OF
IOWA, an Iowa corporation, and
WELLMARK HEALTH PLAN OF
IOWA, INC., an Iowa corporation,

       Defendants.


        COME NOW, Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and

Blue Shield of Iowa and Wellmark Health Plan of Iowa, Inc. (“Wellmark”) and move


1 Blue Cross and Blue Shield Association joins Wellmark in this motion to stay pending decision by

the Judicial Panel of Multidistrict Litigation.


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                                                                                     EXHIBIT 7
         Case
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this Court to (1) vacate the July 5, 2017 date for defendants’ response to plaintiffs’

motion to remand; and (2) stay all proceedings in this action until the Judicial Panel

on Multidistrict Litigation determines whether this action should be transferred to

the United States District Court for the Northern District of Alabama for

consolidated and coordinated pretrial proceedings under the Rules of Procedure of

the Joint Panel on Multidistrict Litigation. In support of this motion, defendants

submit the attached memorandum of law.


Dated: June 23, 2017                      By: /s/ Hayward Draper
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                                          WELLMARK HEALTH PLAN OF IOWA,
                                          INC., an Iowa corporation.

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         Case
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                           CERTIFICATE OF SERVICE


       I hereby certify that on June 23, 2017, I presented the foregoing document to
the Clerk of the Court for filing and uploading into the ECF system, which will send
notification to the following ECF system participants.

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